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    12
                                      UNITED STATES DISTRICT COURT
    13
                                   CENTRAL DISTRICT OF CALIFORNIA
    14

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    16 IN RE: NATIONAL FOOTBALL                          Case No. 2:15-ml-02668-PSG (JEMx)
       LEAGUE’S “SUNDAY TICKET”
    17 ANTITRUST LITIGATION,

    18   _______________________________
                                                         JOINT STATUS REPORT
    19   THIS DOCUMENT RELATES TO:                       REGARDING THE COURT’S MAY
         ALL ACTIONS.                                    31 ORDER ON PLAINTIFFS’
    20                                                   MOTION TO COMPEL
                                                         PRODUCTION OF DOCUMENTS
    21                                                   BY THE NFL
    22                                                   Magistrate Judge: Hon. John E.
                                                         McDermott
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                                                        Plaintiffs’ Motion to Compel Production of Documents by the
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     1           Pursuant to the Court’s May 31, 2022 Order, Dkt. 485, the NFL and Plaintiffs
     2   submit the following Joint Status Report regarding the review of the documents from
     3   United States Football League v. Nat’l Football League, Case No. 84 Civ. 7484
     4   (S.D.N.Y.).
     5           1.        On May 17, 2022, the parties filed a joint stipulation regarding
     6   Plaintiffs’ motion to compel the production of documents from prior litigations
     7   involving the NFL. Dkt. 476-1. On May 31, 2022, the Court granted in part and
     8   denied in part Plaintiffs’ motion, Dkt. 485 at 1, and ordered the NFL to review boxes
     9   of hard copy documents in the possession of the NFL’s former counsel that
    10   potentially contain trial transcripts, deposition transcripts of NFL employees, and
    11   expert reports from USFL “for the limited purpose of ascertaining whether the
    12   documents indicate they are subject to the Protective Order.” Id. at 2. The Court
    13   also ordered that the following steps be taken within 15 days of the order: (i) the
    14   NFL provide a declaration indicating whether and how many, if any, of the
    15   documents have been marked subject to the Protective Order; and (ii) the parties
    16   meet and confer on the propriety of producing those documents that are not explicitly
    17   marked as subject to the Protective Order. Id.
    18           2.        On June 15, 2022, the parties filed a Joint Status Report updating the
    19   Court on the status of the review and requesting an additional week to comply with
    20   the Court’s May 31 Order. See Dkt. 508.
    21           3.        Subsequently, the NFL has completed its review of the documents in

    22   question. A meet and confer between the parties was held on Friday, June 17 to
         discuss the propriety of producing responsive documents that did not contain
    23
         confidentiality markings.
    24

    25
         The NFL’s Position

    26           4.        The documents collected from the NFL’s prior counsel consist of
    27   internal files of the NFL’s law firm from the USFL litigation that proceeded to trial
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     1   nearly 35 years ago. Based on the NFL’s review, the NFL determined that only a
     2   minority of the collected documents were trial transcripts, deposition transcripts of
     3   NFL employees, or experts reports from USFL, and thus even potentially responsive
     4   to Plaintiffs’ request. Decl. of Jeremy S. Barber (Barber Decl.) ¶ 5. The remainder
     5   included an assortment of non-responsive documents, privileged documents, and/or

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         documents containing attorney work product.                   Of those documents that were
         potentially responsive and not privileged and/or attorney work product, some
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         included explicit confidentiality markings. Id. Based on the NFL’s review, the NFL
     8
         has agreed to produce the following documents located in the collected materials:
     9
         approximately 15 days of trial transcripts, the pages from one deposition of an NFL
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         employee that are not marked confidential, and approximately 15 documents that
    11
         include deposition exhibit stickers and are not marked confidential. Further detail
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         on each of the categories of documents sought by Plaintiffs are below.
    13
                 5.        Trial Transcripts: The collected materials included approximately 15
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         transcripts from the trial in USFL. See Barber Decl. ¶ 5(a). None of those transcripts
    15   include confidentiality markings. However, at least six of the transcripts contain
    16   redactions made by hand with black marker that appear to redact side bar
    17   conversations. The NFL has not been able to ascertain whether those redactions
    18   were implemented because of the operative Protective Order in the case or were
    19   otherwise Court-ordered. See id.
    20           6.        The NFL has agreed to produce the USFL trial transcripts located in the
    21   collected materials, with redactions where present.
    22           7.        Expert Reports: The collected materials include a few documents that
    23   appear to be expert reports of the NFL experts, all of which are either explicitly

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         marked confidential and/or are drafts.            See Barber Decl. ¶ 5(b).                       Given the
         confidential and/or draft status of these documents, the NFL will not produce them.
    25
         See, e.g., Fed. R. Civ. P. 26(b)(3)(A) (“Ordinarily a party may not discover
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         documents and tangible things that are prepared in anticipation of litigation or for
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     1   trial by or for another party or its representative.”). Plaintiffs do not oppose the
     2   withholding of these materials.
     3           8.        Deposition Transcripts of NFL Employees: The collected materials
     4   included transcripts and excerpts of transcripts of 12 NFL employees and 2 witnesses
     5   who appear to be experts retained by the NFL for purposes of the USFL litigation.

     6
         Barber Decl. ¶ 5(c)(i). The collected materials included full transcripts for 9 of these
         witnesses. For 4 of the witnesses, the collected materials only included short
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         excerpts of the deposition testimony, often fewer than 10 pages in length. The NFL’s
     8
         understanding, based on other documents found in the collected materials, is that
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         these deposition excerpts were prepared by the NFL’s prior counsel for deposition
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         designations or as exhibits to pleadings and thus constitute attorney work product.
    11
         For one witness, the collected materials included a full transcript of one day of
    12
         deposition testimony for that witness, but only short excerpts of a second day of that
    13
         witness’s deposition testimony. See id.
    14
                 9.        At least one of the deposition transcripts include an attorney colloquy
    15   that makes clear that the USFL Protective Order permitted the parties, after receiving
    16   transcripts of those depositions, to mark certain testimony as confidential. See
    17   Barber Decl. ¶ 5(c)(ii). Indeed, more than 10 of the total universe of deposition
    18   transcripts in the collected materials, including those of non-NFL witnesses, include
    19   a sticker on the first page of the transcript that states that “CERTAIN PAGES OF
    20   THIS TRANSCRIPT ARE MARKED CONFIDENTIAL,” thus confirming that
    21   those versions of the deposition transcripts had been reviewed for confidentiality
    22   issues. Id. Subsequent pages in those transcripts that have such a sticker include
    23   confidentiality markings on the headers or footers of certain pages. Id.

    24
                 10.       It is also clear that the NFL’s former counsel possessed versions of
         certain deposition transcripts before confidentiality markings were applied. The
    25
         collected materials include both marked and unmarked versions of both NFL and
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         non-NFL witness deposition transcripts. See Barber Decl. ¶ 5(c)(ii). In particular,
    27
         the collected materials included deposition transcripts with multiple versions of
    28                                           3
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     1   otherwise identical transcripts, one of which includes the sticker and confidentiality
     2   markings discussed above and one of which does not. Id. That is not surprising, as
     3   it would be expected for the NFL’s prior counsel to have received the deposition
     4   transcript shortly after the deposition itself and to store it in their files before
     5   proceeding to review the documents for confidentiality issues as it appears was

     6
         permitted by the Protective Order in the case.
                 11.       One of the deposition transcripts of an NFL employee includes the
     7
         sticker and express confidentiality markings discussed above.                             Barber Decl.
     8
         ¶ 5(c)(iii). The collected materials also included unmarked excerpts of this same
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         deposition. Because it is clear that the collected materials include a version of this
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         deposition that has been reviewed for confidentiality issues, the NFL has agreed to
    11
         produce the unmarked non-confidential pages of that transcript.
    12
                 12.       The NFL does not agree to voluntarily produce any of the other NFL-
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         employee deposition transcripts, or excerpts of those deposition transcripts, given
    14
         the uncertainty as to whether they contain confidential material subject to the Court’s
    15   protective order or not. More specifically, the age of the documents make it
    16   challenging to determine whether the versions of the remaining deposition
    17   transcripts contained in the collected materials are versions that were obtained by
    18   the NFL’s prior counsel before they were reviewed for confidentiality issues. But
    19   the evidence available to the NFL suggests they were. For example, language from
    20   other NFL-witness deposition transcripts suggests that certain pages would have
    21   been marked confidential. In one transcript, counsel for the NFL makes explicit on
    22   the record that he later intended to designate certain pages of testimony as
    23   confidential. Yet, those pages in the version of the deposition transcript contained

    24
         in the collected materials do not have any confidentiality markings. Id. There is
         also substantive testimony in some deposition transcripts about exhibits that the
    25
         transcript makes clear were marked as confidential, and it would be reasonable to
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         expect that those portions of the transcript would also be marked confidential had a
    27
         confidentiality review been completed.
    28                                               4
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     1           13.       Further, the excerpts of the deposition transcripts in the collected
     2   materials likely constitute attorney work product, another independent reason those
     3   documents cannot be produced. See, e.g., Madrigal v. Allstate Indemnity Co., 2015
     4   WL 12748277, at *4 (C.D. Cal. Nov. 5, 2015); Holmgren v. State Farm Mut. Auto.
     5   Ins. Co., 976 F.2d 573, 576 (9th Cir. 1992).

     6
                 14.       Deposition Exhibits: Most of the deposition transcripts located in the
         collected materials do not have as attachments the exhibits from those depositions.
     7
         Barber Decl. ¶ 5(d).                 However, the collected materials include a number of
     8
         freestanding documents containing deposition exhibit stickers.                                Some of these
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         documents include confidentiality markings and others do not. Approximately 12
    10
         of these freestanding exhibits do not include confidentiality markings. See id. The
    11
         NFL has agreed to produce documents with deposition exhibit stickers that relate to
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         an NFL employee’s deposition and do not include confidentiality markings.
    13
         Plaintiffs’ Position
    14
               15. The NFL improperly refuses to produce 13 deposition transcripts that
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         are responsive to Plaintiffs’ requests even though none of those documents has been
    16   marked as confidential. The NFL provides no authority that supports withholding
    17   these documents based on an assumption that they may be covered by an unidentified
    18   protective order.
    19           16.        As the Ninth Circuit “strongly favors access to discovery materials to
    20   meet the needs of parties engaged in collateral litigation,” Foltz v. State Farm Mut.
    21   Auto. Ins. Co., 331 F.3d 1122, 1131 (9th Cir. 2003), it follows that the NFL bears
    22   the burden of proving the protective order covers the requested documents. The NFL
    23   similarly bears the burden of proving the applicability of the work-product doctrine.
    24   See, e.g., Madrigal, 2015 WL 12748277, at *4. The NFL has not met either burden.

    25           17.       The circumstantial evidence provided by the NFL does not support its
         assumption that the 13 deposition transcripts (which bear no confidentiality
    26
         markings) may have been marked as confidential at a later date. In fact, the evidence
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     1   presented by the NFL suggests that the documents it located were subject to a
     2   confidentiality review.
     3           18.       First, that more than 10 of the located deposition transcripts contain
     4   confidentiality designations suggests that all of the transcripts were subject to a
     5   confidentiality review. The NFL admits that it has located more than 10 deposition

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         transcripts that are expressly marked as confidential: one which concerns the
         deposition of an NFL employee and the remainder which concern depositions of
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         non-NFL employees. The presence of those confidential-designated files mitigates
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         against any “uncertainty” as to whether the remaining transcripts contain
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         confidential material, as does the NFL’s location of redacted trial transcripts and
    10
         confidential-designated expert reports.
    11
                 19.       Second, the NFL’s concern about multiple versions of the same
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         transcript does not, as it asserts, create any uncertainty as to the transcripts of NFL
    13
         witnesses. The existence of multiple transcripts suggests only that the parties
    14
         followed a procedure by which counsel representing the witness conducted a
    15   confidentiality review, marked the transcript as confidential, and then sent opposing
    16   counsel a copy of the designated transcript. The counsel who took the deposition
    17   would thus possess two copies of a given transcript, while counsel for the witness
    18   would have only the one that they marked confidential. Because it is likely that the
    19   NFL’s former counsel conducted the confidentiality review of NFL witnesses, there
    20   is no reason to believe that counsel would have followed the strange procedure
    21   suggested by the NFL—storing a clean deposition transcript in their files,
    22   subsequently conducting a confidentiality review on a separate transcript. Nor is
    23   there any reason that only the confidential-designated version would go missing—

    24   on 13 separate occasions. The NFL’s assertion that the collected materials included
         both marked and unmarked versions of the one deposition that was marked as
    25
         confidential does not change the analysis. The NFL represented that the unmarked
    26
         “version” of that particular transcript consists only of excerpts of that deposition
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         with an apparently unmarked cover page. This demonstrates only that the NFL’s
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     1   former counsel excerpted certain non-confidential portions of one transcript with a
     2   cover page that correctly indicates the lack of confidential material contained
     3   therein. By contrast, all of the complete versions of otherwise identical transcripts
     4   concerned depositions of non-NFL employees.
     5           20.       Third, former counsel’s possession of a deposition transcript of an NFL

     6
         employee which was designated as confidential indicates that the versions located
         by the NFL were all subject to a confidentiality review. The existence of the
     7
         designated transcript creates a presumption that the remainder of the transcripts of
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         NFL witnesses were also reviewed. There is simply no reason to assume that a
     9
         confidentiality review was not completed with respect to the other transcripts. The
    10
         only support that the NFL provides for that assertion is a colloquy in a single
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         transcript in which counsel states that he later intended to designate certain pages as
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         confidential. The remaining 12 transcripts apparently contained no such indication
    13
         and there is no reason to assume that they were ever so designated. The same is true
    14
         about the existence of substantive testimony about exhibits marked as confidential
    15   in some deposition transcripts. Not all testimony that touches on confidential
    16   documents is designated as confidential. Absent some other evidence that the
    17   documents located are out-of-date, the Court cannot assume that those transcripts
    18   were later designated as confidential.
    19           21.       Lastly, the Court should reject the NFL’s refusal to produce the
    20   excerpts of deposition transcripts. The NFL proffers no evidence to suggest that
    21   these excerpts were prepared as deposition designations or exhibits to pleadings.
    22   Nor does it provide any authority for the proposition that deposition excerpts
    23   constitute work product. Neither of the cases cited by the NFL suggest otherwise.

    24   One involved types of documents clearly covered by the work-product doctrine,
         Holmgren, 976 F.2d at 576 (“handwritten memoranda drafted during the litigation”),
    25
         and the other is inapposite, Madrigal, 2015 WL 12748277, at *4 (ruling on propriety
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         of work-product objections raised during a deposition).
    27

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     1           22.       Because the NFL has not met its burden of establishing that the
     2   protective order or the work-product doctrine bars disclosure, the Court should
     3   compel the production of the 13 transcripts of depositions of NFL employees.
     4
         Dated: June 22, 2022
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    12

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